                        Case 2:11-cr-00504-WBS Document 213 Filed 11/18/14
AO 245B-CAED (Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal Case
                                                                              Page 1 of 38
                                                                     (NOTE: Identify Changes with Asterisks*)


                                          United States District Court
                                                   Eastern District of California

             UNITED STATES OF AMERICA                                         *AMENDED JUDGMENT IN A CRIMINAL CASE
                        v.                                                    (For Offenses Committed On or After November 1, 1987)
                  JESSE WHEELER                                               Case Number: 2:11CR00504-03


Date of Original Judgment: 9/29/2014                                          Thomas A. Johnson, Retained
(Or Date of Last Amended Judgment)                                            Defendant’s Attorney

Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                 [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))
[ ] Reduction of Sentence for Changed Circumstances                          [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
      (Fed R. Crim. P. 35(b))                                                    Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))       [ ] Modification of Imposed Term of Imprisonment for Retroactive
                                                                                 Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[ ] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        [U] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
                                                                                [ ] 18 U.S.C. §3559(c)(7), [U] Modification of Restitution Order
THE DEFENDANT:
[U]         pleaded guilty to count: 12 of the Indictment .
[]          pleaded nolo contendere to counts(s)        which was accepted by the court.
[]          was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                                        Date Offense                    Count
Title & Section                            Nature of Offense                                            Concluded                       Number
18 U.S.C. § 157                            Bankruptcy Fraud (CLASS D FELONY)                            2/2010                          12



        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]          The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[U]         All remaining counts of the Indictment are dismissed on the motion of the United States.

[]          Indictment is to be dismissed by District Court on motion of the United States.

[]          Appeal rights given.                                 [U]     Appeal rights waived.

          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                         November 14, 2014
                                                                         Date of Imposition of Judgment



                                                                         Signature of Judicial Officer


                                                                         WILLIAM B. SHUBB, United States District Judge
                                                                         Name & Title of Judicial Officer

                                                                         November 18, 2014
                                                                         Date
                  Case 2:11-cr-00504-WBS Document 213 Filed 11/18/14 Page 2 of 38
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:11CR00504-03                                                                 Judgment - Page 2 of 6
DEFENDANT:                JESSE WHEELER


                                                         IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 36 months .



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be incarcerated in Lompoc Camp, California, but only insofar as this
        accords with security classification and space availability.


[]      The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[U]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [U] before 2:00 PM on 1/8/2015 .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , w ith a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                         By
                                                                                                 Deputy U.S. Marshal
                   Case 2:11-cr-00504-WBS Document 213 Filed 11/18/14 Page 3 of 38
AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:                2:11CR00504-03                                                                            Judgment - Page 3 of 6
DEFENDANT:                  JESSE WHEELER


                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant pos es a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
         et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he
         or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation offic er in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:               2:11CR00504-03                                                            Judgment - Page 4 of 6
DEFENDANT:                 JESSE WHEELER


                                 SPECIAL CONDITIONS OF SUPERVISION
1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United States
     probation officer, or any other authorized person under the immediate and personal supervision of the
     probation officer, based upon reasonable suspicion, without a search warrant. Failure to submit to a search
     may be grounds for revocation. The defendant shall warn any other residents that the premises may be
     subject to searches pursuant to this condition.

2.   The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or restitution
     order by this Judgment is paid in full, unless the defendant obtains approval of the Court or the probation
     officer.

3.   The defendant shall provide the probation officer with access to any requested financial information.

4.   The defendant shall not open additional lines of credit without the approval of the probation officer.

5.   As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment
     program to obtain assistance for drug or alcohol abuse.

6.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine,
     sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

7.   The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where
     alcohol is the chief item of sale.

8.   The defendant shall cooperate with the IRS in the determination and payment of any taxes which may be
     owed.

9.   The defendant shall cooperate with the homeowners and/or Bankruptcy Trustee in the determination of
     rightful title and property ownership and transfer any fraudulently obtained title back to the homeowner victims.

10. The defendant shall transfer all property rights back to the victim homeowners.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:11CR00504-03                                                                              Judgment - Page 5 of 6
DEFENDANT:                    JESSE WHEELER


                                          CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                           Fine                    *Restitution
       Totals:                                       $ 100.00                             $                     $2,212,809.50


[]     The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victims must be paid before the United States is paid.



Name of Payee                                       Total Loss*                   Restitution Ordered Priority or Percentage
**See attached Exhibit A

       TOTALS:                                           $                         $ 2,212,809.50




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
       6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                  [ ] fine          [ ] restitution

       [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[U] If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:11CR00504-03                                                                             Judgment - Page 6 of 6
DEFENDANT:                   JESSE WHEELER

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,      [ ] D,   [ ] E, or   [ ] F below; or

B    [U]           Payment to begin immediately (may be combined with             [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of                (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within         (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
         or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[U ] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate: The defendant shall pay restitution jointly and severally with Jewel L. Hinkles
(Dkt. No. 2:11CR00504-01) in the amount of $2,212,809.50.



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
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        **EXHIBIT A
ATTACHMENT TO AMENDED JUDGMENT
   AND COMMITMENT ORDER FOR:


  2:11CR00504-03: JESSE WHEELER



        RESTITUTION PAYEES LIST
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Jesse Wheeler Restitution Victims
U.S. v. Cydney Sanchez, et al
CR 11-0504-03 (EDCA)
Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss

A & E Asphalt
Maintenance                                   $        3,500.00

Cox                      Curtis               $        2,000.00
AAA Awning Erectors

Abbasova                 Larisa G             $        3,500.00

Ables                    Laura A              $         2,000.00

Adams                    Patrick              $         6,000.00

Aegis Investment, LLC    James                $         8,500.00

Aguirre                  Juan Manual          $         3,500.00

Aguilar                  Raul                 $         3,500.00

Aguiriano                Alma                 $         2,500.00

Albalos                  Ely                  $         3,000.00

Albert                   L.L.                 $         2,000.00

Alden                    Susan                $         3,500.00

Alejandro                Griselda             $         2,000.00

Aliaga                   Jose Luis            $         6,226.00

Alpen                    Joan                 $         3,000.00

Alvarez                  Rosa                 $         3,500.00

Anadriyuk                Leonid               $         1,000.00

Anderson                 Daren                $         3,500.00

Anderson                 Donna G.             $         3,500.00

Andrews                  Elizabeth            $         3,000.00




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U.S. v. Cydney Sanchez, et al
CR 11-0504-03 (EDCA)
Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                    First Name MI         Victim Loss


Andriyuk                 Leonid               $         8,500.00

Anguiano                 Veronica             $        11,000.00

Aquilino                 Sherry               $         2,500.00

Antwaun                  Gray                 $         3,500.00

Arceo                    Nicholo              $         9,500.00

Arroyo                   Maria                $         3,500.00

Arroyo                   Myrna                $         2,000.00

Artishuk                 Alla                 $         3,500.00

Avery                    Gerald L.            $         2,000.00

Avoat                    L                    $         1,000.00

Ayala-Cornejo            Blanca E             $         3,500.00
Rodriguez                Sixto

Babchuk                  Zinovity G.          $         3,500.00

Badger                   Erica L.             $         3,000.00

Bailey                   George V.            $         2,015.00

Bailey                   Ralph                $         3,500.00

Baker                    David H.             $         1,250.00

Baldwin                  Lynda L.             $         3,000.00

Banar                    Leonid               $         3,500.00

Barlett                  Jason                $         2,000.00

Barnes                   Daniel P.            $         1,250.00




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U.S. v. Cydney Sanchez, et al
CR 11-0504-03 (EDCA)
Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss

Barnett                  Midaya               $         3,500.00

Barrios                  Juan J.              $         3,500.00
Magana                   Patricia B.

Beal                     Blanca A.            $         7,500.00

Beck                     Richard              $         5,000.00

Bejarano                 Carlos E.            $         3,500.00

Bejarano                 Olivia               $         3,500.00

Bermodes                 Shanna               $         3,500.00

Betterhausen             Mark M.              $         4,000.00

Belisario                Wilfrredo J.         $         3,500.00

Bisbee (Coleman)         Abaneatha P.         $         8,000.00

Blacksher                Marcus               $         4,000.00

Blackford                Terrence S.          $         2,500.00

Blandin                  Enrico               $         3,500.00

Bocardo                  Maureen              $         7,000.00

Bogan                    Timothy M.           $         2,500.00

Bone                     Wallace H.           $         3,500.00

Bonifacio                Angel V.             $         2,500.00

Book                     Robert C.            $         2,500.00

Boykin                   Derrick              $         3,500.00

Bradford                 Gary                 $         3,500.00

Brandon                  Jonathan             $         3,495.00




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U.S. v. Cydney Sanchez, et al
CR 11-0504-03 (EDCA)
Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss


Branfuhr                 Christopher          $         2,200.00

Brantingham              Darrell              $         1,500.00

Brazier                  Letitia              $         2,500.00

Brazis                   Steven J.            $         2,500.00

Brazis                   Rosario              $         6,900.00

Brening                  Kevin                $         2,500.00

Brooke                   William              $         2,500.00

Brooke                   Sandy                $         2,500.00

Brooke                   Brandon D.           $         2,000.00

Brooke                   Heath B.             $         1,500.00

Brown                    Maargaret            $         3,500.00

Bryant                   Sandie J.            $         7,500.00

Bueltron                 Maria A.             $         1,000.00

Bunyin                   Arthur W.            $         2,500.00

Burks                    Camille K.           $         9,500.00

Caddow                   G. Scott             $         2,500.00

De Calhoun               Ceci De              $         3,500.00

Campos                   Cesar                $         2,500.00

Campos                   Carlos               $         3,500.00

Campos                   Heather              $         2,500.00

Cardenas                 Erika                $         3,500.00




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U.S. v. Cydney Sanchez, et al
CR 11-0504-03 (EDCA)
Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss


Cardenas                 Laura N.             $        14,000.00

Carder                   Michael G.           $         1,500.00

Cardoza                  Efrain               $        10,500.00

Carlos                   Boranica M           $         1,500.00

Carlson                  Cherie C.            $         3,750.00

Caro                     Maria A.             $        16,500.00
Amador                   Jose M.

Carpenter                George Allen         $         3,750.00

Carpenter                Anthony              $         3,500.00

Castillo                 Martin               $         3,000.00

Castillon                Jose                 $         5,000.00

Castro                   Andrea               $         2,500.00

Castro                   Ricardo              $         3,500.00

Cattaneo                 Michelle             $         3,500.00

CDB International, Inc                        $         3,000.00

Cervantes                Martin               $         8,500.00

Chabanchuk               Serthy               $         3,500.00
Chamberlain              Sara B.              $         5,000.00

Chandra                  Prakash              $         3,500.00

Chepilka                 Ilya                 $         3,500.00

Chin                     Marilyn              $         4,000.00

Cid                      Anzurio              $         5,300.00




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U.S. v. Cydney Sanchez, et al
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Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                   First Name MI          Victim Loss


Clark                     David               $         1,000.00

Clark                     Bernard             $         2,000.00
Clark Financial Service

Coffee                    Steve               $         2,500.00

Cohen                     Jan Michael         $         3,000.00

Colbert                   James J.            $         3,000.00

Cole                      Christine L.        $         2,000.00

Colemore                  Abancatha P. B      $         8,000.00

Colmore                   Vincent A.          $         3,030.00

Coons                     Michelle R.         $         2,500.00

Contreras                 Nelson              $         3,000.00

Cooper                    Kathleen E.         $         3,500.00

Corado                    Sonia               $         2,000.00

Cordano                   Ray                 $         2,000.00

Correa                    Regina F.           $         5,000.00

Cortes                    Odila               $         3,500.00

Costa                     Tina L.             $         3,500.00

Cruse                     Mike                $         5,500.00

Cruiz                     Felipe              $         3,500.00

Cuego                     Minerva             $         3,500.00

Cuevas                    Joe A.              $         7,000.00




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U.S. v. Cydney Sanchez, et al
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Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss

Cullom                   Margaret M.          $         3,500.00

Cumbra                   Alisa                $         1,250.00

Cummings                 Johnny L.            $         3,500.00

Cuthbertson              Sherri               $         2,750.00

Dahl                     David                $         3,000.00

Dalton-Kittell           Robin                $         3,500.00

Dan                      William P.           $         6,500.00

Danford                  Cheryle              $         2,500.00

Danz                     Phillip A.           $         3,000.00

Davis                    Ellen J.             $          500.00

Davis                    David                $        10,500.00

Davis                    John                 $         2,500.00

Daynes                   Elizabeth            $         3,000.00

De La Torre              Gonzalo              $         3,000.00

De La Torre              Ricardo              $         3,500.00

DeLa Rosa                Maria                $         3,500.00

Deagle                   Ronald G.            $         3,500.00

Dean                     Angela R.            $         2,500.00

Deanda                   Marco A.             $         2,000.00

Delgado                  Gerald               $         3,500.00

Delgado Jr               Edgar                $         9,500.00




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U.S. v. Cydney Sanchez, et al
CR 11-0504-03 (EDCA)
Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss

Delgadillo               Francisco A.         $         3,500.00

Denson                   David                $         3,500.00

Derkach                  Vladimir             $         2,000.00

Dhaliwal                 Pal Singh            $        14,000.00

DiGiacomo                Gerald               $         5,065.00
Diaz                     Orlando              $         3,500.00

Dickerson                Ruby Lynn            $         2,500.00

Dimino                   Charles A.           $         3,500.00

Diwa                     Rosalina Y.          $         3,000.00

Dixon                    Ronald L.            $         2,500.00

Dodge                    Roxanne              $         2,500.00

Domingos                 James                $         3,000.00

Dominguez                Martin               $         3,500.00

Dominick                 Leah M.              $         1,500.00

Doney                    Scott                $         3,500.00

Dover                    Douglas              $         3,500.00

Dover                    Michael              $         7,000.00

Dovgan                   Alina                $         3,500.00

Drobmaya                 Alla                 $         6,000.00

Dubyaga                  Sergey               $         2,500.00

Duguay                   Joel D.              $         1,000.00

Dunbar                   Matthew              $         2,500.00




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U.S. v. Cydney Sanchez, et al
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Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss


Dunn                     Marty G.             $         3,500.00
Duran                    Lourdes G.           $         6,500.00
Morales                  Jorge L.

Durant                   Valeria A.           $         9,000.00

Dunscomb                 Donna                $         2,500.00

Duarte                   Antonio Lopez        $         3,500.00

Dwyer                    Brian J.             $         2,000.00

Dzik                     Vladimir             $         1,500.00

Eddings                  Glen B.              $         3,500.00

Edwards                  Peter                $         3,500.00

Egan                     Thomas M.            $         3,490.00

El Paraiso Apartments                         $         3,500.00

Elizarraras              Denia                $         5,000.00
Orozco                   Sabrina

Elliott                  Logan                $         3,500.00

Emerson                  Samuel L.            $         3,000.00
Kaur                     Catherine M.

Eriksen                  Ingmar               $         2,500.00



Escamilla                Angel H.             $         6,000.00

Esquivez                 Enrique              $         3,500.00

Estrada                  Anna                 $         3,500.00

Eversole                 Cary                 $         1,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Kvidera                  Tommy

Fabela                   Marie E.             $         3,000.00

Fabian                   Johnny               $         3,500.00

Faisst                   Ernest K.            $         2,000.00

Falcon                   Benito F/            $         2,000.00

Fame                     Precious             $         6,500.00

Fazil                    Gina M.              $         3,000.00

Fedchuk                  Oksana               $          500.00

Felicetty                Tim M.               $         1,000.00

Ferolito                 Tony                 $         3,500.00

Fisher                   Jim                  $         2,500.00

Fisher                   Todd                 $         4,500.00

Fissiha                  Beteab               $         3,500.00


Fleishon                 Andrea B.            $         7,000.00
Holt                     Ronald F.

French                   Miles                $         3,500.00

Friedman                 David                $         3,000.00

Frisina                  Trent                $         3,000.00

Fuentes                  Bianey               $         3,500.00

Fukushima                Rick                 $         3,500.00

Fulton                   Scott R.             $         3,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss


Gallegos                 Luis                 $         5,500.00
F & J Hauling

Gallegos                 Florencio            $        10,500.00

Gallegos                 Jesus M.             $         3,500.00

Gambriel                 Janet                $         2,500.00
Burwell                  Norma

Gandara                  Carlos               $         3,500.00

Garcia                   Jaime                $         3,500.00

Garcia                   Maria                $         1,000.00

Garcia                   Ramon                $         3,500.00

Garivay                  Blanca               $         3,500.00

Garza                    Jose                 $         3,500.00

Garza                    Tomas                $         3,500.00

Geffre                   Elisa                $         4,000.00

Generoso                 Lei Anne             $         3,000.00

Gibson                   Douglas S.           $         3,500.00

Gil                      Margaret             $         3,000.00

Gil                      Rene                 $         3,000.00

Gill                     James                $         3,500.00

Goble                    John                 $         3,500.00

Gomez                    Claudio              $         3,500.00

Gomez                    Maria B.             $         3,500.00




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                                                  Recommended
Last Name                    First Name MI         Victim Loss


Gomez                    Maria                $         3,500.00

Gonzales                 Carmen               $         8,000.00

Gonzalez                 Felipe               $         3,500.00

Gonzalez                 Joel                 $         5,000.00
Rameriz                  Silvia

Gooch                    Robert               $         3,500.00
Goode                    Joseph S.            $         3,500.00

Gossell                  Z                    $         3,000.00

Gounder                  Muni D.              $         3,500.00

Granados-Gomez           Maria A              $         2,500.00
Juarez, Evaristo

Graves                   Tedi                 $         2,500.00

Green                    Arla                 $         3,500.00

Greene                   Daniel C.            $         1,500.00

Griffin II               Robin A.             $         3,500.00

Greenhalgh               Michelle M.          $         3,500.00

Guerrero                 Jose L.              $         3,351.00

Guerrero                 Fred                 $         3,500.00

Gullick                  Jacob J.             $         3,495.00

Hagen                    Jamey J.             $         3,000.00

Hall                     Cora                 $         2,000.00

Hall                     Michael J.           $         2,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Hanneman                 Ronald P.            $         3,000.00

Harper                   James                $         3,500.00
Harrison                 William              $         3,500.00

Hazlip                   Nancy                $         3,000.00

Hein                     Scott D.             $         6,500.00

Hengl                    Jeremy D.            $         2,500.00

Henning                  Fred                 $         3,500.00

Hensch                   Bryan                $         2,500.00

Henson                   Kevin                $         2,500.00

Hensley                  Jobie                $         3,500.00

Henson                   Karen J.             $         5,000.00

Hernandez                Jose                 $         3,500.00
Gonzalez                 Rocio

Hernandez                Leonardo Galen       $         3,500.00

Hernandez                Norberto             $         3,500.00

Hernandez                Javier               $         3,500.00
Escalante                Maricela

Hester                   Robert               $         3,500.00

Hicks                    Robert               $         2,800.00

Hill                     Nathan               $         3,500.00

Hinzman                  Robert               $         1,000.00

Hofmann                  Norman K.            $         3,500.00

Ho                       Melanie              $         3,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Huffman                  Michael D.

Howard                   Jason                $         3,500.00

Huddleston               Royce                $         1,250.00

Hudson                   Kristine             $         6,500.00

Hughes                   Ann K.               $         6,000.00

Huitron                  Salvador             $         7,000.00

Iniguez                  Alberto              $         3,500.00

Inkiriwang               Herman               $         3,400.00

Isbell                   Ethan                $         3,500.00

Ivanchenko               Viktor               $         3,500.00

Jacques                  Rene                 $         1,500.00

James                    Ryan                 $         6,000.00


Jasper                   Dana M.              $         2,000.00
Lawrence III             Elbert

Cuccia                   Jay                  $         1,000.00
JC3 International Inc

Jimenez                  Marco                $         3,500.00

Jones                    Darlene              $         4,500.00

Jones                    Debra T.             $         3,500.00

Jones                    Robert T.            $         3,500.00
Smith & Jones Tech.

Juan                     Marifel C            $         4,000.00
Inoceida                 Jaye Allan




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                                                  Recommended
Last Name                   First Name MI          Victim Loss


Juarez                    Martha              $         2,000.00

Juco                      Ronald              $         3,500.00

K & A Engineering, Inc.                       $         3,500.00

Kahoano                   Victoria Lynn       $         3,500.00
Amps III                  Kenneth E.

Kaur                      Gurinder            $         3,500.00

Killingsworth             Alyssa              $         2,500.00

Kimball                   Violet T.           $         3,500.00

Kinman                    Ryan                $         3,000.00

King                      Val J.              $         1,875.00

Kinnan                    Ryan L.             $         5,000.00

Kirkpatrick               Kevin               $         3,500.00

Kishor                    Kamiesh             $         3,500.00

Kittell                   Elihu               $         5,500.00

Kjelstrom                 Kelly               $         7,000.00

Klaar                     Mary                $         3,500.00

Klossner                  Bradley S.          $         3,500.00

Koehler                   Russell             $         2,995.00

Konstantinov              Ivan                $         3,500.00

Korovyakovskiy            Sergey              $         2,500.00

Krebs                     Christopher H       $         3,000.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss


Kucher                   Sergey               $         4,500.00

Kuhn                     Lucille M.           $         3,500.00

Kuleshov                 Marie                $         2,000.00

Kumar                    Adhini               $         3,000.00
Kumar                    Prakesh              $         2,600.00

Kumar                    Herjeet              $         3,500.00

Kuntz                    Lorraine I.          $         2,500.00

Laleabadi                Kelil                $         5,000.00

Lamb                     Elizabeth A.         $         3,500.00

Lambaren                 Jose                 $         3,500.00

Larios                   Julissa R.           $         3,500.00

Larson                   Elizabeth L.         $         2,000.00

Lasseter                 Valerie              $         6,000.00

Latham                   Joyce A.             $         2,000.00

Le                       Tan C.               $         2,500.00

Leadmon - Sheean         Shawna Hertzig.      $         4,300.00

Leal                     Yvonne               $         3,500.00

Ledesma                  Alejandro            $         3,000.00

Ledesma                  Miguel               $         3,000.00

Lee                      Jeffery P.           $         3,500.00

Leer                     William              $         3,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Levine                   Bonnie               $         3,000.00

Li                       Michelle             $         3,500.00

Lim                      Anthony M.           $         3,000.00

Linder                   Virginia             $         9,500.00

Linder-Larson            Elizabeth            $         4,000.00

Lockwood                 Lawrence             $         3,500.00

High Tech Muffler Shop
Lomeli                   Jorge                $         1,750.00

Lopez                    Adolfo               $         4,500.00

Lopez                    Cesar Navarette      $         3,500.00

Lopez                    Gustavo              $         3,000.00

Lopez                    Martha V.            $         3,500.00

Lopez                    Miguel               $         4,500.00

Lopez                    Pedro                $         3,500.00

Lopez                    Jose A.              $         3,000.00
Salizar                  Blanca
Loren                    William              $         2,500.00

Lotze                    Jessie               $         6,000.00

Lowe                     Vivian               $         2,500.00
Luke                     Hugo J.              $         3,495.00
Fok                      Eva

Luna, II                 Francisco            $         3,000.00

Lyford                   Willard C.           $         4,000.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Madera                   Rocendo E.           $         3,500.00

Magallon                 Maria del Carmine    $         3,500.00

Maestas                  Botanica             $         3,500.00



Mancini                  Patrick A.           $         3,495.00

Management Solutions     Subway               $         2,500.00

Manuylova                Sergey               $         2,150.00

Manzanares               Rick A.              $         3,500.00

Marin                    Jorge                $         3,500.00
Penaloza                 Susana

Marretto                 Kaniela              $         1,250.00

Martin                   Cloyce G.            $         1,750.00

Martin                   Richard G.           $         3,500.00

Martinez                 Diana                $         6,500.00
Lopez                    Julio Martinez
Martinez                 Gerardo              $         1,000.00

Martinez                 Juan B.              $         3,500.00

Mason                    Kenneth              $         2,062.00

Mastainich               Daron Michael        $         3,500.00

Mata                     Arnold F.            $         3,500.00

Matlock                  Robert               $         2,500.00

McCoy                    Dana                 $         2,000.00
Lawrence                 Elbert




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

McDonald                 Kenneth              $         3,500.00

McDonald                 Johnnie              $         8,250.00

McIntosh                 Thelma               $         2,500.00

McIntyre                 Benjamin L.          $         3,500.00

McKenna                  Paul B.              $         2,500.00

McKnight                 Ryan G.              $         3,500.00

Mejia                    Rosita F.            $         3,500.00

Melton                   Scott P.             $         1,000.00

Mendoza                  Juan                 $        10,500.00
Rodriguez                Marisela J.

Menjivar                 Robert               $         3,500.00
Merced                   Roberto              $         2,000.00

Merrill                  Jeffrey              $         3,500.00

Michaeledes              Chris                $         2,000.00
Wisco                    Emmu

Miller                   Teresa               $         2,500.00

Milum                    Danny P.             $         2,500.00

Mitchell                 Bruce C.             $         4,000.00

Moch                     Michael              $         3,495.00

Mondragor                Saturnino            $         2,678.00

Morales                  Marina               $         3,500.00

Morgan                   Matthew S.           $         2,499.00

Morgan                   Scott                $         1,249.50




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                                                  Recommended
Last Name                  First Name MI           Victim Loss


Moroz                    Nataliya             $         3,500.00

Morrow                   Kimberly             $         1,500.00

Moua                     Cher                 $         3,500.00

Mowry                    Kelli                $         3,500.00

Munoz                    Jose J               $         3,500.00

Murguia                  Joaquin              $         2,000.00
Murillo                  Salvador             $         3,226.00

Myers                    Flora Diane          $         3,500.00

Najera                   Edgar R.             $         3,500.00

Napa Valley Prof Auto                         $         3,500.00

Naresh                   Ram                  $         3,500.00

Narvaez                  Gerardo              $         3,500.00

National Green Cleaning LLC                   $         3,500.00

Nelson                   James A.             $         1,850.00

Newman                   John T.              $         3,000.00

Newton                   Gary                 $         5,000.00

Nicolai                  James A.             $         2,000.00

Niemeyer                 Curtis               $         1,250.00

Nit-Wits                                      $         3,000.00

Nuin-Oses                Celia                $         3,500.00

O'Leary                  Daniel J.            $         3,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Ocampo                   Miller               $         3,500.00

Oliva                    Irma                 $         3,500.00
Omega                    Jose                 $         3,500.00

Orlov                    Natalya              $         3,500.00

Ortiz                    Rocio                $         3,500.00

Osborne                  Krista               $         1,750.00
Steinmertz               Chad

Pagnini                  Joshue               $         3,500.00

Palm                     Diana                $         2,500.00

Pantoja                  Armondo              $         3,500.00
Nazaario                 Guadalupe

Parker                   Lorene               $         1,600.00

Pastor                   Espiridion           $         3,500.00

Paule                    Ann M.               $         2,000.00

Paulsen                  Clayton              $         3,495.00

Pavano                   Mark                 $         3,000.00

Pedraza                  Ernesto              $         3,000.00

Pelletier                Clayton J.

Pena                     Rogelio D.           $         3,500.00

Pena                     Raquel               $         5,000.00
Perez                    Francisco            $         3,500.00

Perez                    Julio                $         3,500.00

Peterson                 James W.             $         3,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Peterson                 Brett                $         3,500.00
Petrashisin              Ruslan               $         2,500.00

Petrashisin              Vira                 $         3,500.00

Petrashishina            Igor Y.              $         5,000.00

Pettinato                Anthony              $        11,700.00
Ommert                   Jennifer

Piceno                   Francisco            $         3,500.00

Pickett                  James E.             $         1,925.00
Yellow Dog Holding

Piluyev                  Nikolay              $         7,000.00

Pimentel                 Eduardo              $         3,500.00

Poddyachiy               Daniil               $         2,500.00

Porras                   Vincente             $         2,000.00

Porter                   Vincente M.          $         3,500.00

Portilla                 Nancy                $         3,500.00

Prado                    Kelly S.             $         6,375.00

Prasad                   Rajendra             $         2,500.00

Prasad                   Savitri              $         3,500.00

Prasad                   Sumintra             $         3,500.00

Prizhbilov               Natalya              $         2,500.00

Proctor                  Marsha               $         3,500.00

Purdom                   Thomas               $         3,500.00

Puzankov                 Yuriy                $         3,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss


Quintero                 Samuel               $         5,000.00

Raj                      Ronil                $         3,500.00

Ram                      Lalita D.            $         3,500.00

Ramirez                  Alfonso              $         7,500.00

Ramirez                  Demelia              $         2,000.00

Ramirez                  Demelia              $         4,000.00

Ramirez                  Erika                $         2,000.00

Ramirez                  J Pedro Marin        $         3,000.00

Ramirez                  Julieta              $         3,000.00
Ramirez                  Merida               $         5,000.00

Ramirez                  Salvador             $         6,000.00

Ramos                    Jorge                $         1,800.00

Rangel                   Jorge Luis           $         3,500.00

Ranson                   Jena Von             $         3,500.00

Raptor Hotel LLC                              $        10,500.00

Rees                     Brady A.             $         2,500.00

Reich                    Brian James          $         2,500.00

Relva                    Andrea               $         2,500.00

Resendiz                 Simon                $         3,500.00

Reynolds                 Brensa D.            $         3,500.00

Richardson               Demar                $         1,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Rios                     Yolanda              $         3,500.00

Rivera                   Juan C.              $         3,500.00

Roberts                  Dennis               $         3,000.00

Rodgers                  David A.             $         3,500.00

Rodriguez                Jose                 $         3,500.00

Rodriguez                Mary C.              $         3,500.00

Roelling                 Tanya Elizabeth      $         5,000.00

Rogers                   Dannie               $         3,500.00

Rohde                    Claranne             $         3,500.00

Romo                     Carolina             $         5,000.00

Root                     Daniel O.            $         5,000.00

Rosas                    Caritina             $         3,500.00

Rose                     Arthur               $         1,000.00

Ross                     Celina               $         2,500.00

Rosser                   Loren                $         2,500.00

Rowland                  Jon                  $         2,700.00

Ruiz                     Maria                $         3,500.00
Ruiz                     Arturo

Ruiz                     Maria                $         3,500.00

Ruiz                     Ruben                $         3,500.00

Sanabria                 Anne                 $        17,500.00

Sanchez                  Ida                  $         3,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Sanders                  Felix                $         3,500.00

Sandoval                 Consuelo             $         3,500.00

Sandoval                 Jaime S.             $         2,000.00

Santos                   Brent A.             $         2,500.00

Sarria                   Erick M.             $         3,500.00

Satariano                Regina A.            $         3,500.00

Savchuk                  Lillya               $         1,500.00

SDG/ Alliance Group                           $         3,750.00

Sedykh                   Igor                 $         3,500.00

Selyuzhitskiy            Viktor               $         3,500.00

Serrano                  Dagoberto            $         2,500.00

Sharma                   Chatur V.            $         3,000.00

Sharp                    Heather              $         2,300.00

Shandrew                 Ruth                 $         1,200.00

Shankar                  Avinesh              $         2,500.00

Shlodzik                 Victor               $         3,000.00
Shoemaker                Tricia               $         3,500.00
Watson                   Pam

Shoemaker                Brian                $         3,700.00

Shpak                    Natalya              $         3,500.00
Shpak                    Olga

Shults                   Lisa M.              $         1,100.00

Sillemon                 Anthony              $         3,500.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss


Silo                     Albert               $         5,000.00

Sinaly                   Thephark             $         3,500.00

Singh                    Sam R.               $          500.00

Sisam                    Nathan D.            $         3,500.00

Skalsky                  Shreen               $         2,500.00

Skumatov                 Sergey               $         4,000.00

Smith                    Debbie J.            $         1,200.00

Soga                     Justin               $         1,000.00

Souza                    Shannon M.           $         3,500.00

Souza                    Jeff                 $         2,500.00

Speers                   Rob                  $         2,000.00

Spelman                  Kit                  $         2,500.00

St Stephen AME Church                         $         3,500.00

Stallworth               Carol                $         1,500.00

Stamas                   Samuel G.            $         2,500.00

Starodue                 Nadezhda             $         3,000.00

Steen                    Owen P.              $         2,500.00

Stephenson               Faye                 $         2,000.00
Alves                    George

Stein                    Sally                $         3,500.00

Steinmetz                Chad                 $         1,750.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss

Stillwagon               Joseph G.            $         1,500.00

Stipech                  Cynthia A.           $         7,500.00

Steibenhaar              Robert               $         3,500.00

Storrs                   Richard B.           $         5,000.00

Strong                   Richard A.           $         3,500.00

Stroup                   Lawrence B.          $         3,000.00

Summit Business
Strategies                                    $         1,000.00

Sutter                   David P.             $         2,000.00

Sweeney                  Brian A.             $         3,500.00

Sykes                    Mark B.              $         3,500.00

Tall                     Brian R.             $         3,500.00

Talmadge                 Robert L.            $         2,500.00

Tamashiro                Joel M.              $          400.00

Tatom                    Mitchell R.          $         3,500.00

Taylor                   Richard              $         4,000.00

Tejeda                   Camila               $         3,000.00

Tejero                   Albert               $         1,250.00

The Trocadero Club                            $         1,000.00

Thomas                   Tammie L.            $         2,500.00

Tingler                  Anthony              $         3,000.00

Tinoco                   Ruben                $         1,250.00




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                                                  Recommended
Last Name                  First Name MI           Victim Loss


Tolman                   Tim                  $         2,500.00

Tomas                    Salvador M.          $         3,500.00

Torngren                 Scott D.             $         3,500.00

Torres                   Eva                  $         7,000.00

Torres                   Jose Luis            $         2,000.00

Torres                   Rene                 $         3,000.00

Torres                   Thomas A.            $         1,000.00

Tougeron                 Gabrielle A.         $         3,000.00

Tovar                    Daniel M.            $         6,250.00

Tsakonas                 Lisa                 $         1,500.00

Tsera                    Roman                $         3,500.00

Tulloh                   Anthony K.           $         3,000.00

Turner                   Twilia               $         3,500.00

Ulanov                   Irina                $         3,000.00

Underwood                Fred                 $         3,500.00

Updegraff                Dennis               $         3,500.00

Urbana                   Baudelio             $         3,000.00

Ureno                    Manuel               $         3,500.00

Urrabazo                 John C               $         4,500.00

Utley                    Kay                  $         3,500.00

Valdez                   Marilou              $         3,500.00




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Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss

Valencia                 Jose Efren           $         3,500.00

Vallas                   Paul                 $         2,500.00

Van Houten               Kurt R.              $         2,500.00

Van-Campen               Richard              $        10,000.00

Vanderwaal               Danica               $         3,500.00

Vanderwerff              Pete                 $        10,500.00

Vargas                   Victoria             $         2,000.00

Vasquez                  Fidel Ramirez        $         1,500.00
Morales                  Veronica

Velasco                  Joel C.              $         3,226.00
Gonzalez                 Dora A.

Veliz                    Martha               $         8,000.00

Venegas                  Veronica             $         3,500.00

Venegas                  Isidro               $         3,500.00

Ventura                  Matthew              $         3,500.00

Vergara                  Alex                 $         3,500.00

Vieira                   Steve                $         3,500.00

Villeda                  Alma                 $         7,000.00

Visco                    Marc Joseph          $         7,500.00

Vizcarra                 Lauro                $         2,500.00

Vladanu                  Valerly V.           $          726.00

Von Ranson               Jena                 $         3,500.00




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Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss

Wagner                   Coleen F.            $         1,500.00

Walker                   Andrew               $         3,500.00

Wall                     James                $         2,500.00

Warmenhoven              Dana C.              $         3,500.00

Watt                     Michael              $         1,000.00

Webb                     Bryson               $         3,500.00

Webb                     Michael C.           $         3,000.00

Weber                    David O.             $         2,500.00

Whitall                  Ken                  $         3,500.00

Wickham                  Bill                 $         3,500.00

Wilder                   Amelia               $         3,000.00

Wilder                   Beverly M.           $         3,000.00

Williams                 Charles              $         3,000.00

Willaims                 Deborah              $         2,000.00
Wisco                    Emma B.              $         2,000.00

Wong                     Leonard L.           $         7,500.00

Woodford                 Brandt S.            $         3,000.00

Woods                    Tracy                $         2,500.00

Wright                   Cynthia              $         2,500.00

Xiong                    Xai                  $         3,500.00

Yanke                    Lloyd                $         2,900.00




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U.S. v. Cydney Sanchez, et al
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Inclusive List of All Jesse Wheeler Victims

                                                  Recommended
Last Name                  First Name MI           Victim Loss

Yefremenkov              Akeksandr            $         4,500.00

Young                    Donald               $         3,000.00

Young                    Crystal G.           $         2,000.00

Young                    Raymond C.           $         5,000.00

Zablotskiy               Peter                $         4,000.00

Zagorulko                Yuriy                $         3,500.00

Zamora                   Sergio               $         3,500.00

Zapara                   Johnny               $         7,500.00

Zavoda                   Oliver T.            $         3,500.00

Zerbe                    Barton D.            $         8,000.00

Zyryanov                 Lidiya               $         5,226.00

                                              $     2,212,809.50




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